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                                   3                                  UNITED STATES DISTRICT COURT

                                   4                                 NORTHERN DISTRICT OF CALIFORNIA

                                   5
                                         CORSAIR GAMING, INC.,
                                   6                                                         Case No. 24-cv-04612-TLT (KAW)
                                                        Plaintiff,
                                   7                                                         ORDER REGARDING MOTION FOR
                                                 v.                                          DEFAULT JUDGMENT
                                   8
                                         DEAL BUSTER, INC.,                                  Re: Dkt. No. 15
                                   9
                                                        Defendant.
                                  10

                                  11

                                  12          On November 13, 2024, Plaintiff Corsair Gaming, Inc. filed a Motion for Default
Northern District of California
 United States District Court




                                  13   Judgment. (Dkt. No. 15.) On December 4, 2024, the motion for default judgment was referred to

                                  14   the Court for a report and recommendation. (Dkt. No. 19.)

                                  15          The opposition was due on November 27, 2024; to date, no opposition has been filed.

                                  16   Accordingly, Plaintiff shall file a proposed order by December 20, 2024. The submission shall be

                                  17   structured as outlined in Attachment A below and include all relevant legal authority and analysis

                                  18   necessary to establish the case. Plaintiff shall also email the proposed findings in Microsoft Word

                                  19   (.docx) format to kawpo@cand.uscourts.gov. No chambers copies of the proposed order need to

                                  20   be submitted.

                                  21          The Court SETS the motion for default judgment for hearing on January 16, 2025 at 1:30

                                  22   p.m.

                                  23          Plaintiff are ordered to serve this notice upon all other parties in this action.

                                  24          IT IS SO ORDERED.

                                  25   Dated: December 9, 2024

                                  26                                                     ______________________________________
                                                                                         KANDIS A. WESTMORE
                                  27                                                     United States Magistrate Judge
                                  28
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                                   1
                                                                           ATTACHMENT A
                                   2
                                                                                        * * *
                                   3
                                                                                 INTRODUCTION
                                   4
                                       (Relief sought and disposition.)
                                   5
                                                                                I.   BACKGROUND
                                   6
                                       (The pertinent factual and procedural background, including citations to the Complaint and
                                   7
                                       record. Plaintiff(s) should be mindful that only facts in the Complaint are taken as true for
                                   8
                                       purposes of default judgment; therefore, Plaintiff(s) should cite to the Complaint whenever
                                   9
                                       possible.)
                                  10
                                                                          II.    LEGAL STANDARD
                                  11
                                       (Include the following standard)
                                  12
Northern District of California
 United States District Court




                                              Federal Rule of Civil Procedure 55(b)(2) permits a court to enter a final judgment in a case
                                  13
                                       following a defendant’s default. Shanghai Automation Instrument Co. v. Kuei, 194 F. Supp. 2d
                                  14
                                       995, 999 (N.D. Cal. 2001). Whether to enter a judgment lies within the court’s discretion. Id. at
                                  15
                                       999 (citing Draper v. Coombs, 792 F.2d 915, 924-25 (9th Cir. 1986)).
                                  16
                                              Before assessing the merits of a default judgment, a court must confirm that it has subject
                                  17
                                       matter jurisdiction over the case and personal jurisdiction over the parties, as well as ensure the
                                  18
                                       adequacy of service on the defendant. See In re Tuli, 172 F.3d 707, 712 (9th Cir. 1999). If the
                                  19
                                       court finds these elements satisfied, it turns to the following factors (“the Eitel factors”) to
                                  20
                                       determine whether it should grant a default judgment:
                                  21                (1) the possibility of prejudice to the plaintiff, (2) the merits of
                                                    plaintiff’s substantive claim, (3) the sufficiency of the complaint, (4)
                                  22                the sum of money at stake in the action[,] (5) the possibility of a
                                                    dispute concerning material facts[,] (6) whether the default was due
                                  23                to excusable neglect, and (7) the strong policy underlying the
                                                    Federal Rules of Civil Procedure favoring decision on the merits.
                                  24
                                       Eitel v. McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986) (citation omitted). Upon entry of default,
                                  25
                                       all factual allegations within the complaint are accepted as true, except those allegations relating to
                                  26
                                       the amount of damages. TeleVideo Sys., Inc. v. Heidenthal, 826 F.2d 915, 917-18 (9th Cir. 1987).
                                  27
                                       Where a default judgment is granted, the scope of relief “must not differ in kind from, or exceed in
                                  28
                                                                                           2
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                                   1   amount, what is demanded in the pleadings.” Fed. R. Civ. P. 54(c).

                                   2                                           III.    DISCUSSION
                                   3          A.      Jurisdiction and Service of Process
                                   4   (Include the following standard)

                                   5          In considering whether to enter default judgment, a district court must first determine

                                   6   whether it has jurisdiction over the subject matter and the parties to the case. In re Tuli, 172 F.3d

                                   7   707, 712 (9th Cir. 1999) (“When entry of judgment is sought against a party who has failed to

                                   8   plead or otherwise defend, a district court has an affirmative duty to look into its jurisdiction over

                                   9   both the subject matter and the parties.”).

                                  10                 i.   Subject Matter Jurisdiction
                                  11   (Establish the basis for the Court’s subject matter jurisdiction, including citations to relevant case

                                  12   law and United States Code provisions.)
Northern District of California
 United States District Court




                                  13                ii.   Personal Jurisdiction
                                  14   (Establish the basis for the Court’s personal jurisdiction, including citations to relevant legal

                                  15   authority, specific to each defendant. If seeking default judgment against any out-of-state

                                  16   defendants, this shall include a minimum contacts analysis under Schwarzenegger v. Fred Martin

                                  17   Motor Co., 374 F.3d 797, 802 (9th Cir. 2004)).

                                  18               iii.   Service of Process
                                  19   (Establish the adequacy of the service of process on the party against whom default is requested,

                                  20   including relevant provisions of Federal Rule of Civil Procedure 4.)

                                  21          B.      Application to the Case at Bar
                                  22   (A detailed analysis of each individual Eitel factor, separated by numbered headings. Factors 2

                                  23   (merits of substantive claims) and 3 (sufficiency of complaint) may be listed and analyzed under

                                  24   one heading. Plaintiff(s) shall include citations to cases that are factually similar, preferably

                                  25   within the Ninth Circuit.)

                                  26                                      IV.         RELIEF SOUGHT
                                  27   (An analysis of any relief sought, including a calculation of damages, attorneys’ fees, etc., with

                                  28   citations to relevant legal authority.)
                                                                                          3
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                                   1          1.      Damages

                                   2   (As damages alleged in the complaint are not accepted as true, the proposed findings must

                                   3   provide (a) legal authority establishing entitlement to such damages, and (b) citations to evidence

                                   4   supporting the requested damages.)

                                   5          2.      Attorney’s Fees

                                   6   (If attorney’s fees and costs are sought, the proposed findings shall include the following: (1)

                                   7   Evidence supporting the request for hours worked, including a detailed breakdown and

                                   8   identification of the subject matter of each person’s time expenditures, accompanied by actual

                                   9   billing records and/or time sheets; (2) Documentation justifying the requested billing rates, such

                                  10   as a curriculum vitae or resume; (3) Evidence that the requested rates are in line with those

                                  11   prevailing in the community, including rate determinations in other cases of similarly complex

                                  12   litigation, particularly those setting a rate for the plaintiff’s attorney; and (4) Evidence that the
Northern District of California
 United States District Court




                                  13   requested hours are reasonable, including citations to other cases of similarly complex litigation

                                  14   (preferably from this District).

                                  15          3.      Costs

                                  16   (Any request for costs must include citations to evidence supporting the requested costs and

                                  17   relevant legal authority establishing entitlement to such costs.)

                                  18                                         V.     CONCLUSION
                                  19   (Disposition, including any specific award amount(s) and judgment.)

                                  20                                                    * * *

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